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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS

MCR OIL TOOLS, LLC,                           §
                                              §
     Plaintiff,                               §
                                              §
v.                                            §
                                              §           Civil Action No. _________
                                                                            18-731
SPEX OFFSHORE, LTD.,                          §
SPEX SERVICES, LTD.,                          §
SPEX OFFSHORE (UK) LTD.,                      §
SPEX GROUP US LLC, and                        §
SPEX ENGINEERING (UK) LTD.,                   §
                                              §
      Defendants.                             §

       DEFENDANT SPEX OFFSHORE (UK), LTD.’S NOTICE OF REMOVAL

        Defendant SPEX Offshore (UK) Ltd. (“Defendant”) hereby removes this action from

the 95th Judicial District Court, Dallas County, Texas, to this Court pursuant to and in

accordance with 28 U.S.C. §§ 1332, 1441. As grounds for this removal, Defendant states as

follows:

                                            FACTS

        1.        On December 27, 2017, Plaintiff MCR Oil Tools, LLC (“MCR”) filed a

lawsuit in the 95th Judicial District Court for Dallas County, Texas, against SPEX

Offshore, Ltd. (a/k/a SPEX Offshore (UK), Ltd.), SPEX Group US LLC, and SPEX

Engineering (UK), Ltd. (Vol. 1, MCR’s Orig. Pet.).1 MCR alleges, among other things, that

Defendants misappropriated its trade secrets and engaged in unfair competition. (Id.) MCR

seeks to recover “monetary relief over $1,000,000 and non-monetary relief” in this lawsuit.

(Id. at ¶ 17).


1
  All citations to “Vol. #” refer to the Volume of the Index of State Court Filings accompanying
this Notice of Removal where the referenced document may be found.


DEFENDANT SPEX OFFSHORE (UK), LTD.’S NOTICE OF REMOVAL                                    PAGE 1
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       2.     The Original Petition alleges that MCR is a Texas limited liability company

with its principal place of business in Arlington, Texas. (Id. at ¶ 6). It does not, however,

identify the membership of the limited liability company. (Id.).

       3.     On December 28, 2017, this case was removed to the United States District

Court for the Northern District of Texas on the basis of federal question jurisdiction. Shortly

thereafter, MCR moved to remand the action to state court on January 11, 2018.

Ultimately, the Court determined MCR’s claims did not arise under patent law and

remanded this case to state Court on February 16, 2018.

       4.     MCR filed its Second Amended Petition on March 19, 2018. (Vol. 4, MCR’s

Second Am. Pet.). The Second Amended Petition maintains the monetary demand of over

$1,000,000 and adds claims against two additional defendants: SPEX Services, Ltd. and

SPEX Offshore (UK), Ltd. (Id.).

       5.     SPEX Offshore (UK), Ltd. was served with MCR’s Second Amended Petition

on March 19, 2018.

       6.     On March 23, 2018, MCR served its responses to certain Interrogatories. (Ex.

A, MCR’s 1st Rog. Resp.). In response to Interrogatory No. 3,2 MCR identified—for the first

time—the members of MCR Oil Tools, LLC. (Id. at p. 3–4). Shortly thereafter, Defendant

ascertained the state of domicile for each of the members of MCR, and, accordingly,

2
  Interrogatory No. 3 requested: “For each partnership, company or other business organization
owned or controlled by ROBERTSON, whether directly or indirectly and whether individually
or in combination any other PERSON, including without limitation MCR Oil Tools LLC, MCR
Oil Tools International Inc., Nextech Research LLC, Horizon Design & Engineering LLC,
Precision Perforators LLC, Pyrotronics LLC, Robertson Intellectual Processes LLC, Robertson
Intellectual Properties LLC, Robertson Oil Tools LLC, Thermal Generators LLC, and Thermal
Generators Inc., IDENTIFY the (i) partners, members or shareholders, (ii) officers, (iii) general
partner(s), managing member(s) or director(s), and (iv) employees that work for more than more
than one of the partnerships, companies or other business organizations identified.”



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became aware of facts that give rise to this Court’s jurisdiction based upon 28 U.S.C. § 1332.

                                DIVERSITY JURISDICTION

       7.      A civil action initially filed in a state court is removable if the action is one

which “the district courts of the United States have original jurisdiction . . . .” 28 U.S.C.

§ 1441(a). District courts have “original jurisdiction of all civil actions where the matter in

controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is

between . . . citizens of a State and citizens or subjects of a foreign state . . . .” 28 U.S.C.A.

§ 1332(a).

       8.      This action is removable because (1) this action is between citizens of a State

(Texas) and citizens of a foreign state (the United Kingdom) and (2) the amount in

controversy exceeds $75,000. 28 U.S.C. § 1332(a).

       9.      Additionally, this Court is appropriate venue because this district and division

embrace the place in which the removed action is pending. 28 U.S.C. § 1441(a).

A.     This Action is Between Citizens of a State and Citizens of a Foreign State.

       10.     The federal alienage diversity statute gives federal courts “original jurisdiction

of all civil actions where the matter in controversy exceeds the sum or value of

$75,000 . . . and is between . . . citizens of a State and citizens or subjects of a foreign state.”

JPMorgan Chase Bank v. Traffic Stream (BVI) Infrastructure Ltd., 536 U.S. 88, 91 (2002). 1.

       Citizenship of MCR

       11.     Because MCR is a limited liability company, its citizenship is the citizenship

of each of its members. Harvey v. Grey Wolf Drilling Co., 542 F.3d 1077, 1080 (5th Cir. 2008).

       12.     Here, MCR’s response to the Interrogatory No. 3 identified—for the first

time—its five members: (1) Michael C. Robertson, (2) Sherry Robertson, (3) Michelle



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Robertson, (4) Aaron Robertson, and (5) Monica Barlow. (See Ex. A, MCR’s 1st Rog.

Resp.). Based on its review of public records, Defendant is informed and believes each of

MCR’s members is domiciled in Texas. Specifically, the members are believed to be

domiciled at the following addresses:

       •     Michael C. Robertson: 1419 Waterwood Drive, Mansfield, Texas 76063;

       •     Sherry Robertson: 5001 Deerwood Park Drive, Arlington, Texas 76017;

       •     Michelle Robertson: 4719 Westhaven Road, Arlington, Texas 76017;

       •     Aaron Robertson: 910 Killian Drive, Mansfield, Texas 76063; and

       •     Monica Barlow: 6250 Toscana Circle, Fort Worth, Texas 76140.

       13.      Because each of MCR’s members is a United States citizen domiciled in the

State of Texas, MCR is a Texas citizen. Stine v. Moore, 213 F.2d 446, 448 (5th Cir. 1954).

   2. Citizenship of the Defendants

       14.      MCR’s Second Amended Petition asserts claims against five entities:

(1) SPEX Offshore, Ltd., (2) SPEX Services, Ltd., (3) SPEX Offshore (UK), Ltd., (4) SPEX

Group US LLC, and (5) SPEX Engineering (UK), Ltd. (Vol. 4, MCR’s 2nd Am. Pet.).

       15.      SPEX Offshore, Ltd. was a private limited company incorporated under the

laws of the United Kingdom and had its principal place of business in the United Kingdom.

(Ex. B, Dec. of Jamie Oag). SPEX Offshore, Ltd. was dissolved under the laws of the

United Kingdom being named a party to this lawsuit. (Id.). To the extent that SPEX

Offshore, Ltd. is a proper party to this action, it is a citizen of the United Kingdom.

       16.      SPEX Services, Ltd. was a private limited company incorporated under the

laws of the United Kingdom and had its principal place of business in the United Kingdom.

(Id.). SPEX Services, Ltd. was also dissolved under the laws of the United Kingdom before



DEFENDANT SPEX OFFSHORE (UK), LTD.’S NOTICE OF REMOVAL                                    PAGE 4
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being named a party to this lawsuit. (Id.). To the extent that SPEX Services, Ltd. is a proper

party to this action, it is a citizen of the United Kingdom.

       17.    SPEX Offshore (UK), Ltd. is a private limited company incorporated under

the laws of the United Kingdom and has its principal place of business in the United

Kingdom. (Id.). SPEX Offshore (UK), Ltd. is a citizen of the United Kingdom.

       18.    SPEX Group US LLC is a Texas limited liability company. (Id.). Its sole

member is SPEX Engineering (UK), Ltd., which is a citizen of the United Kingdom. (Id.).

SPEX Group US LLC is therefore a citizen of the United Kingdom. Stine, 213 F.2d at 448.

       19.    SPEX Engineering (UK), Ltd. is a private limited company incorporated

under the laws of the United Kingdom and has its principal place of business in the United

Kingdom. (Ex. B). SPEX Engineering (UK), Ltd. is a citizen of the United Kingdom.

       20.    Accordingly, all defendants are citizens of the United Kingdom.

       21.    Because MCR is a citizen of the State of Texas and all defendants are citizens

of the United Kingdom, the diversity requirements of the alienage diversity statute are

satisfied. 28 U.S.C. § 1332(a)(2).

B.     The Amount in Controversy Exceeds $75,000.

       22.    To show that all the requisites for federal jurisdiction are met, a removing

party must demonstrate that the amount in controversy exceeds $75,000. See 28 U.S.C.

§ 1332(a); Garcia v. Koch Oil Co. of Texas Inc., 351 F.3d 636, 638 (5th Cir. 2003). The amount

in controversy is ordinarily established on the face of the complaint and the dollar-amount

actually claimed. Horton v. Liberty Mut. Ins. Co., 367 U.S. 348, 353 (1961); Garcia, 351 F.3d

at 638 (citing St. Paul Mercury Indem. Co. v. Red Cab Co., 303 U.S. 283, 289 (1938)).




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        23.     Here, MCR’s Second Amended Petition states that it “seeks monetary relief

over $1,000,000.” (Vol. 4, MCR’s 2nd Am. Pet. at ¶ 19). Accordingly, the amount that

MCR seeks from the defendants exceeds $75,000 and the amount in controversy

requirement is satisfied.

                       OTHER REQUIREMENTS FOR REMOVAL

A.      Timeliness of Removal

     1. 28 U.S.C. § 1446(b)(3)

        24.     Generally, a defendant is required to file a notice of removal of a civil action

within 30 days after the receipt by the defendant of a copy of the initial pleading setting forth

the claim for relief upon which such action or proceeding is based. 28 U.S.C. § 1446(b)(1).

However, “[w]hen removal is based on diversity of jurisdiction, this period commences only

after receipt of an initial pleading that affirmatively reveals on its face that” the prerequisites

of diversity jurisdiction are satisfied. See Thornton v. Racetrac Petroleum Inc., No. 3:13-CV-

1658-P, 2013 WL 11330885, at *2 (N.D. Tex. Nov. 22, 2013) (citing Chapman v. Powermatic,

Inc., 969 F.2d 160, 163 (5th Cir. 1992)).

        25.     Accordingly, “if the case stated by the initial pleading is not removable, a

notice of removal may be filed within 30 days after receipt by the defendant, through service

or otherwise, of a copy of an amended pleading, motion, order or other paper from which it

may first be ascertained that the case is one which is or has become removable.” 28 U.S.C.

§ 1446(b)(3).

        26.     Here, MCR’s Second Amended Petition provides: “Plaintiff MCR Oil Tools,

LLC . . . is a Texas limited liability company having its principal place of business at 7327

Business Place, Arlington, Texas 76001, USA.” (Vol. 4, MCR’s 2nd Am. Pet. at ¶ 6). The



DEFENDANT SPEX OFFSHORE (UK), LTD.’S NOTICE OF REMOVAL                                      PAGE 6
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state of registration and “[t]he principal place of business is quite beside the point and plays

no role in determining the citizenship of a limited liability company.” Antero Res. Corp. v.

C&R Downhole Drilling, Inc., No. 315-CV-3885-L, 2015 WL 13106330, at *2 (N.D. Tex. Dec.

9, 2015).

       27.    Because MCR’s Second Amended Petition failed to identify the citizenship of

the members of MCR, Defendant could not determine whether diversity jurisdiction existed

based on the face of the petition. See id. (holding that a plaintiff “must list or state the

citizenships of all of the limited liability company members” to show that complete diversity

exists and, therefore, that the court has subject matter jurisdiction). Therefore, the removal

clock was not triggered until MCR responded to discovery and the basis for removal was

first discovered on March 24, 2018, just five days after Defendant was served with process.

Mumfrey v. CVS Pharmacy, Inc., 719 F.3d 392, 398 (5th Cir. 2013); see also 28 U.S.C. §

1446(b)(3).

   2. 28 U.S.C. § 1446(b)(2)(C)

       28.    Alternatively, to the extent that MCR’s Petitions somehow revealed that the

case was immediately removable, this Notice of Removal is still timely under 28 U.S.C.

§ 1446(b)(2)(C).

       29.    Section 1446 codifies the “last-served defendant rule” and provides that “[i]f

defendants are served at different times, and a later-served defendant files a notice of

removal, any earlier-served defendant may consent to the removal even though that earlier-

served defendant did not previously initiate or consent to removal.” 28 U.S.C.

§ 1446(b)(2)(C); Federal Courts Jurisdiction and Venue Clarification Act of 2011, Pub. L.

No. 112–63 §§ 103, 205, 125 Stat. 758, 760, 764–65 (amending 28 U.S.C. § 1446).



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       30.    As such, even if MCR’s Original Petition was removable on its face,

Defendant may remove the action “within 30 days after the receipt by [Defendant], through

service or otherwise, of a copy of the initial pleading setting forth the claim for relief upon

which such action or proceeding is based.” 28 U.S.C. § 1446(b)(1). Because Defendant

accepted service of MCR’s Second Amended Petition—the first pleading directed at

Defendant—on March 19, 2018, the filing of this notice of removal is timely.

B.     Permitted Successive Removal to Federal Court

       31.    The Fifth Circuit recognizes a defendant's right to seek a subsequent removal

after remand. S.W.S. Erectors, Inc. v. Infax, Inc., 72 F.3d 489, 492–93 (5th Cir. 1996) (citing

Browning v. Navarro, 743 F.2d 1069, 1079–80 n. 29 (5th Cir. 1984)). “A defendant who fails

in an attempt to remove on the initial pleadings can file a second removal petition when

subsequent pleadings or events reveal a new and different ground for removal.” Id. (quoting

One Sylvan Road North Assocs. v. Lark Int'l, Ltd., 889 F.Supp. 60, 62, 63 (D. Conn. 1995)).

       32.    In contrast to this previous removal, the basis for the instant Notice of

Removal is diversity jurisdiction, rather than federal question jurisdiction. Accordingly, this

second removal petition is permitted because subsequently acquired information revealed a

new and different ground for removal.

C.     Consent of All Required Parties

       33.    In order to comply with the removal requirements of Section 1446, all served

defendants must join in the removal petition filed prior to the expiration of the removal

period. 28 U.S.C. § 1446(b)(2)(A); Gillis v. Louisiana, 294 F.3d 755, 759 (5th Cir. 2002)

(citing Getty Oil Corp., a Div. of Texaco v. Ins. Co. of N. Am., 841 F.2d at 1262 n. 9 (5th Cir.

1988)). This “simply requires that there be some timely filed written indication from each



DEFENDANT SPEX OFFSHORE (UK), LTD.’S NOTICE OF REMOVAL                                   PAGE 8
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served defendant, or from some person or entity purporting to formally act on its behalf in

this respect and to have the authority to do so, that it has actually consented to such action.”

Id. (citing Getty, 841 F.2d at 1262 n. 11) (internal punctuation omitted).

       34.      Although a removing party must obtain the consent of each served defendant,

consent is not required from unserved defendants. See Warren v. Bank of Am., No. 3:16-CV-

1373-M-BN, 2016 WL 4440494, at *3 (N.D. Tex. Aug. 2, 2016), report and

recommendation adopted, No. 3:16-CV-1373-M, 2016 WL 4523910 (N.D. Tex. Aug. 22,

2016). Because SPEX Offshore, Ltd. and SPEX Services, Ltd. were dissolved under the laws

of the United Kingdom before this lawsuit was filed and because they have not been served,

their consent is not required. (See Ex. B, Dec. of James Oag). Accordingly, Defendant must

only obtain the consent of SPEX Group US LLC and SPEX Engineering (UK), Ltd.

       35.      To that end, SPEX Group US, LLC and SPEX Engineering (UK), Ltd.

consent to the removal of this action to this Court.

D.     Papers from Removed Action and Other Required Documents

       36.      As required by 28 U.S.C. § 1446(a) and Local Civil Rule 81.1, Defendant has

attached to this Notice of Removal:

             a. a completed civil cover sheet;

             b. a supplemental civil cover sheet;

             c. a notice of a related case under Local Civil Rule 3.3;

             d. an index of all required documents;

             e. a copy of the docket sheet in the state court action;

             f. each document filed in the state court action, except discovery material; and

             g. a signed certificate of interested persons that complies with LR 3.1(3).



DEFENDANT SPEX OFFSHORE (UK), LTD.’S NOTICE OF REMOVAL                                     PAGE 9
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D.      Notice of Filing Notice of Removal

        37.   In accordance with 28 U.S.C. § 1446(d), and to effect removal, Defendant

will file a true and correct copy of this Notice of Removal with the Clerk of the 95th Judicial

District Court, Dallas County, Texas, Cause No. DC-17-17592.


                                      CONCLUSION

        WHEREFORE, Defendant SPEX OFFSHORE (UK) LTD. respectfully removes

this action from the 95th Judicial District Court, Dallas County, Texas, Cause No. DC-17-

17592, to the United States District Court for the Northern District of Texas.


                                    Respectfully submitted,


                                           /s/ Craig D. Dillard
                                           Craig D. Dillard (#29150)
                                           Federal ID No. 37591
                                           Texas State Bar No. 24040808
                                           Terrell Miller
                                           Texas State Bar No. 24046446
                                           Jason Sharp
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                                           Steven C. Lockhart
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                                           State Bar No. 24013523
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                                           State Bar No. 24068616


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                                          slockhart@gardere.com
                                          rslovak@gardere.com
                                          rkingrey@gardere.com

                                          ATTORNEYS FOR DEFENDANT

                              CERTIFICATE OF SERVICE

       The undersigned Counsel hereby certifies that the foregoing has been served via ECF on
this the 27th day of March, 2018, to the following:

Blake L. Beckham
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817-861-4685 (fax)
                                                  /s/ Steven C. Lockhart
                                                  Steven C. Lockhart




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                                                                                   exhibitsticker.com
                                                                       Removal

                                                                      Exhibit A
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                                                                                                       exhibitsticker.com
                                                                                        Removal

                                                                                           Exhibit B
                                   CAUSE NO. DC-17-17592

MCR OIL TOOLS, LLC,                         §                  IN THE DISTRICT COURT OF
                                            §
Plaintiff,                                  §
                                            §
vs.                                         §                         95th JUDICIAL DISTRICT
                                            §
SPEX OFFSHORE, LTD.,                        §
SPEX SERVICES, LTD.,                        §
SPEX OFFSHORE (UK) LTD.,                    §
SPEX GROUP US LLC, and                      §
SPEX ENGINEERING (UK) LTD.,                 §
                                            §
Defendants.                                 §                     DALLAS COUNTY, TEXAS


        PLAINTIFF’S RESPONSE TO DEFENDANTS SPEX GROUP US, LLC’S
      AND SPEX ENGINEERING (UK) LTD.’S FIRST SET OF INTERROGATORIES


To:      Defendants SPEX GROUP US LLC and SPEX ENGINEERING (UK) LTD., by and
         through its attorney of record Steven Lockhart, Gardere Wynne Sewell LLP, 2021
         McKinney Ave. Suite 1600, Dallas, Texas 75201

         Pursuant to Texas Rule of Civil Procedure 197, MCR Oil Tools, LLC (“MCR”) serves

these Plaintiff’s Response to Defendants SPEX Group US, LLC (“SPEX Group”) and SPEX

Engineering (UK) Ltd.’s (“SPEX Engineering”) (collectively “SPEX Defendants”) First Set of

Interrogatories.

         MCR objects to definition/instruction #1 as it is overly broad and unduly burdensome.

When using the name of a party or person, MCR will interpret that to mean the actual party or

person and relevant known representatives for that party or person.

                                     INTERROGATORIES

1.       Describe each misappropriated trade secrets which serve as a basis for Count Three of the
         PETITION, and include in the response the identity of all persons with knowledge of
         facts supporting or relating to this claim.



PLAINTIFF’S RESPONSE TO DEFENDANTS SPEX GROUP US, LLC’S AND
SPEX ENGINEERING (UK) LTD.’S FIRST SET OF INTERROGATORIES                                 PAGE 1
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RESPONSE: MCR objects to this request as it is clearly 2 distinct requests. In the interests of
cooperation and to avoid dispute, MCR will still respond to each of the interrogatories sent by
Defendants even though the Rule 11 agreement limited the number of interrogatories to 3. MCR
further objects to terms “facts supporting or relating” to this claim as those terms are undefined
and therefore are vague and subject to multiple interpretations. MCR will still respond to this
request, but its response is based on MCR’s understanding of the terms and not every possible
meaning of the terms.

Subject to and without waiving its objections: DRAFT RESPONSE

     1. MCR’s Radial Cutting Torch nozzle design
        MCR’s Radial Cutting Torch body size i.e., length, OD, ID
        MCR’s Radial Cutting Torch fuel load
        MCR’s Perforating Torch nozzle design
        MCR’s Perforating Torch body size i.e., length, OD, ID
        MCR’s Perforating Torch fuel load
        MCR’s Axial Cutting Torch nozzle design
        MCR’s Axial Cutting Torch body size i.e., length, OD, ID
        MCR’s Axial Cutting Torch fuel load
        MCR’s fuel loading Chart
        MCR’s specification sheet
        MCR’s patents
        MCR’s Confidential Information (as defined in the License and Letter Agreements)
        Letter Agreement of June 1, 2015
        Agreement Granting Access to Confidential Information; March 6, 2015
        SPEX License Number XRT-2013-0021; May 21, 2014

This information is based on what is known at this time. As discovery continues this information
is subject to supplementation and amendment. There is little doubt that once discovery is
obtained from Defendants, this response will change.

     2. Other than MCR’s attorneys, Michael C. Robertson, Douglas Streibich, and Anthony
        Grattan. Most likely there are also multiple employees and agents, former and current, of
        Defendants who have knowledge regarding this.

2.      Describe the misappropriated confidential information which serves as a basis for Count
        Four of the PETITION, and include in the response the identity of all persons with
        knowledge of facts supporting or relating to this claim.

RESPONSE: MCR objects to this request as it is clearly 2 distinct requests. In the interests of
cooperation and to avoid dispute, MCR will still respond to each of the interrogatories sent by
Defendants even though the Rule 11 agreement limited the number of interrogatories to 3. MCR
further objects to terms “facts supporting or relating” to this claim as those terms are undefined
and therefore are vague and subject to multiple interpretations. MCR will still respond to this
request, but its response is based on MCR’s understanding of the terms and not every possible
meaning of the terms.

PLAINTIFF’S RESPONSE TO DEFENDANTS SPEX GROUP US, LLC’S AND
SPEX ENGINEERING (UK) LTD.’S FIRST SET OF INTERROGATORIES                                  PAGE 2
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Subject to and without waiving its objections: DRAFT RESPONSE

     1. MCR’s Radial Cutting Torch nozzle design
        MCR’s Radial Cutting Torch body size i.e., length, OD, ID
        MCR’s Radial Cutting Torch fuel load
        MCR’s Perforating Torch nozzle design
        MCR’s Perforating Torch body size i.e., length, OD, ID
        MCR’s Perforating Torch fuel load
        MCR’s Axial Cutting Torch nozzle design
        MCR’s Axial Cutting Torch body size i.e., length, OD, ID
        MCR’s Axial Cutting Torch fuel load
        MCR’s fuel loading Chart
        MCR’s specification sheet
        MCR’s patents
        MCR’s Confidential Information (as defined in the License and Letter Agreements)
        Letter Agreement of June 1, 2015
        Agreement Granting Access to Confidential Information; March 6, 2015
        SPEX License Number XRT-2013-0021; May 21, 2014

This information is based on what is known at this time. As discovery continues this information
is subject to supplementation and amendment. There is little doubt that once discovery is
obtained from Defendants, this response will change.

     2. Other than MCR’s attorneys, Michael C. Robertson, Douglas Streibich, and Anthony
        Grattan. Most likely there are also multiple employees and agents, former and current, of
        Defendants who have knowledge regarding this.

2.      For each partnership, company or other business organization owned or controlled by
        ROBERTSON, whether directly or indirectly and whether individually or in combination
        any other PERSON, including without limitation MCR Oil Tools LLC, MCR Oil Tools
        International Inc., Nextech Research LLC, Horizon Design & Engineering LLC,
        Precision Perforators LLC, Pyrotronics LLC, Robertson Intellectual Process LLC,
        Robertson Intellectual Properties, LLC, Robertson Oil Tools LLC, Thermal Generators
        LLC, and Thermal Generators Inc., IDENTIFY the (i) partners, members or shreholders,
        (ii) officers, (iii) general partner(s), managing member(s) or director (s), and (iv)
        employees that work for more than one of the partnerships, companies or other business
        organizations identified.

RESPONSE: MCR objects to this request as it calls for the disclosure of information which is
not relevant and not likely to lead to the discovery of admissible evidence. MCR is not aware of
what the 10 entities listed, other than the Plaintiff in this case, have to do with this case.
Defendants have filed no pleading which references these entities or even gives MCR a basis for
understanding why Defendant believes the requested information is proper discovery. MCR also
objects to the request that MCR provide a list of every employee that has ever worked for any of
these entities as that is unduly burdensome on its face, especially since this interrogatory does
not even have a time limitation.

PLAINTIFF’S RESPONSE TO DEFENDANTS SPEX GROUP US, LLC’S AND
SPEX ENGINEERING (UK) LTD.’S FIRST SET OF INTERROGATORIES                                 PAGE 3
   Case 3:18-cv-00731-M Document 1 Filed 03/27/18               Page 19 of 45 PageID 19



If Defendants will provide more information on why they believe this information is relevant and
likely to lead to the discovery of admissible evidence, MCR can reevaluate the question and may
provide further details.

Subject to and without waiving its objections: DRAFT RESPONSE

MCR Oil Tools, LLC:
                                 a. Partners: Michael C. Robertson, Sherry Robertson,
                                    Michelle Robertson, Aaron Robertson, Monica Barlow
                                 b. Officers: Michael C. Robertson, Sherry Robertson
                                 c. Managing Member: Michael C. Robertson


DATED: March 23, 2018.

                                                   Respectfully submitted,

                                                   /s/ Blake L. Beckham
                                                   Blake L. Beckham
                                                   State Bar No. 02016500
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                                                   Jose M. Portela
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                                                   ATTORNEYS FOR PLAINTIFF
                                                   MCR OIL TOOLS, LLC


PLAINTIFF’S RESPONSE TO DEFENDANTS SPEX GROUP US, LLC’S AND
SPEX ENGINEERING (UK) LTD.’S FIRST SET OF INTERROGATORIES                               PAGE 4
    Case 3:18-cv-00731-M Document 1 Filed 03/27/18                            Page 20 of 45 PageID 20


                                        CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the above and foregoing document has been
delivered to the following counsel as follows on this 23rd day of March, 2018.

Craig D. Dillard                                                        Via: cdillard@gardere.com
Steven Lockhart                                                         Via: slockhart@gardere.com
Gardere Wynne Sewell LLP
2021 McKinney Avenue, Suite 1600
Dallas, Texas 75201
Attorneys for Defendants


                                                                          /s/ Blake L. Beckham
                                                                          Blake L. Beckham




I:\MCR Oil Tools\SPEX\Pleadings\R2 ROGS-SPEX Group and Eng 032118.doc




PLAINTIFF’S RESPONSE TO DEFENDANTS SPEX GROUP US, LLC’S AND
SPEX ENGINEERING (UK) LTD.’S FIRST SET OF INTERROGATORIES                                            PAGE 5
Case 3:18-cv-00731-M Document 1 Filed 03/27/18   Page 21 of 45 PageIDNotice
                                                                      21    of




                                                                                 exhibitsticker.com
                                                                     Removal

                                                                    Exhibit C
Case 3:18-cv-00731-M Document 1 Filed 03/27/18   Page 22 of 45 PageID 22
JS 44 (Rev. 06/17) - TXND (Rev. 06/17)         CIVIL COVER
                         Case 3:18-cv-00731-M Document 1 Filed SHEET
                                                               03/27/18 Page 23 of 45 PageID 23
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
                                                                                                            SPEX Offshore, Ltd., SPEX Offshore (UK), Ltd., SPEX Group US LLC,
MCR Oil Tools, LLC                                                                                          SPEX Engineering (UK), Ltd. and SPEX Services, Ltd.

    (b) County of Residence of First Listed Plaintiff             Tarrant County, Texas                       County of Residence of First Listed Defendant             United Kingdom
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)

SEE ATTACHMENT                                                                                              SEE ATTACHMENT


II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF        DEF                                          PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1        ’ 1      Incorporated or Principal Place       ’ 4     ’ 4
                                                                                                                                                         of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2    ’    2   Incorporated and Principal Place    ’ 5      ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3    ’    3   Foreign Nation                      ’ 6      ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                 PERSONAL INJURY             ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158          ’ 375 False Claims Act
’   120 Marine                       ’   310 Airplane                  ’ 365 Personal Injury -             of Property 21 USC 881        ’ 423 Withdrawal                 ’ 376 Qui Tam (31 USC
’   130 Miller Act                   ’   315 Airplane Product                Product Liability       ’ 690 Other                               28 USC 157                       3729(a))
’   140 Negotiable Instrument                 Liability                ’ 367 Health Care/                                                                                 ’ 400 State Reapportionment
’   150 Recovery of Overpayment      ’   320 Assault, Libel &                Pharmaceutical                                                PROPERTY RIGHTS                ’ 410 Antitrust
        & Enforcement of Judgment             Slander                        Personal Injury                                             ’ 820 Copyrights                 ’ 430 Banks and Banking
’   151 Medicare Act                 ’   330 Federal Employers’              Product Liability                                           ’ 830 Patent                     ’ 450 Commerce
’   152 Recovery of Defaulted                 Liability                ’ 368 Asbestos Personal                                           ’ 835 Patent - Abbreviated       ’ 460 Deportation
        Student Loans                ’   340 Marine                          Injury Product                                                    New Drug Application       ’ 470 Racketeer Influenced and
        (Excludes Veterans)          ’   345 Marine Product                  Liability                                                   ’ 840 Trademark                        Corrupt Organizations
’   153 Recovery of Overpayment               Liability                 PERSONAL PROPERTY                        LABOR                     SOCIAL SECURITY                ’ 480 Consumer Credit
        of Veteran’s Benefits        ’   350 Motor Vehicle             ’ 370 Other Fraud             ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)               ’ 490 Cable/Sat TV
’   160 Stockholders’ Suits          ’   355 Motor Vehicle             ’ 371 Truth in Lending               Act                          ’ 862 Black Lung (923)           ’ 850 Securities/Commodities/
’   190 Other Contract                       Product Liability         ’ 380 Other Personal          ’ 720 Labor/Management              ’ 863 DIWC/DIWW (405(g))               Exchange
’   195 Contract Product Liability   ’   360 Other Personal                  Property Damage                Relations                    ’ 864 SSID Title XVI             ’ 890 Other Statutory Actions
’   196 Franchise                            Injury                    ’ 385 Property Damage         ’ 740 Railway Labor Act             ’ 865 RSI (405(g))               ’ 891 Agricultural Acts
                                     ’   362 Personal Injury -               Product Liability       ’ 751 Family and Medical                                             ’ 893 Environmental Matters
                                             Medical Malpractice                                            Leave Act                                                     ’ 895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS                 PRISONER PETITIONS           ’ 790 Other Labor Litigation          FEDERAL TAX SUITS                    Act
’   210 Land Condemnation            ’   440 Other Civil Rights          Habeas Corpus:              ’ 791 Employee Retirement           ’ 870 Taxes (U.S. Plaintiff      ’ 896 Arbitration
’   220 Foreclosure                  ’   441 Voting                    ’ 463 Alien Detainee                Income Security Act                 or Defendant)              ’ 899 Administrative Procedure
’   230 Rent Lease & Ejectment       ’   442 Employment                ’ 510 Motions to Vacate                                           ’ 871 IRS—Third Party                  Act/Review or Appeal of
’   240 Torts to Land                ’   443 Housing/                        Sentence                                                           26 USC 7609                     Agency Decision
’   245 Tort Product Liability               Accommodations            ’ 530 General                                                                                      ’ 950 Constitutionality of
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -    ’ 535 Death Penalty                 IMMIGRATION                                                          State Statutes
                                             Employment                  Other:                      ’ 462 Naturalization Application
                                     ’   446 Amer. w/Disabilities -    ’ 540 Mandamus & Other        ’ 465 Other Immigration
                                             Other                     ’ 550 Civil Rights                  Actions
                                     ’   448 Education                 ’ 555 Prison Condition
                                                                       ’ 560 Civil Detainee -
                                                                             Conditions of
                                                                             Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original            ’ 2 Removed from                ’ 3         Remanded from            ’ 4 Reinstated or      ’ 5 Transferred from    ’ 6 Multidistrict                 ’ 8 Multidistrict
    Proceeding              State Court                             Appellate Court              Reopened               Another District             Litigation -                 Litigation -
                                                                                                                        (specify)                        Transfer                    Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                          28 U.S.C. 1332
VI. CAUSE OF ACTION                      Brief description of cause:
                                           Misappropriation Trade Secrets and Tortious Interference with Contract
VII. REQUESTED IN   ’ CHECK IF THIS IS A CLASS ACTION        DEMAND $                                                                            CHECK YES only if demanded in complaint:
     COMPLAINT:         UNDER RULE 23, F.R.Cv.P.                1,000,000.00                                                                     JURY DEMAND:         ’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                                JUDGE  Barbara M. G. Lynn                                                                        DOCKET NUMBER 3:17-CV-03510-M
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
03/26/2018                                                              s/Craig Dillard
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE
JS 44 Reverse (Rev. 06/17) - TXND (Rev. 06/17)
                      Case 3:18-cv-00731-M Document 1 Filed 03/27/18                                     Page 24 of 45 PageID 24
INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency,
         use only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at
         the time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment,
         noting in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an
         "X" in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark
         this section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit
         code that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite
         jurisdictional statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If a related case exists, whether pending or closed,
      insert the docket numbers and the corresponding judge names for such cases. A case is related to this filing if the case: 1) involves some or all of the
      same parties and is based on the same or similar claim; 2) involves the same property, transaction, or event; 3) involves substantially similar issues of
      law and fact; and/or 4) involves the same estate in a bankruptcy appeal.

Date and Attorney Signature. Date and sign the civil cover sheet.
Case 3:18-cv-00731-M Document 1 Filed 03/27/18           Page 25 of 45 PageID 25


                    ATTACHMENT TO CIVIL COVER SHEET



I.      (c) Attorneys for Plaintiff MCR Oil Tools, LLC

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        (c) Attorneys for Defendants SPEX Group US LLC, SPEX Engineering (UK)
        Ltd., and, SPEX Offshore (UK), Ltd.


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Case 3:18-cv-00731-M Document 1 Filed 03/27/18   Page 26 of 45 PageID 26



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Case 3:18-cv-00731-M Document 1 Filed 03/27/18           Page 27 of 45 PageID 27


                    ATTACHMENT TO CIVIL COVER SHEET



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Case 3:18-cv-00731-M Document 1 Filed 03/27/18   Page 28 of 45 PageID 28



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        Case 3:18-cv-00731-M Document 1 Filed 03/27/18                      Page 29 of 45 PageID 29
Supplemental Civil Cover Sheet
Page 1 of 2 

                       Supplemental Civil Cover Sheet for Cases Removed
                                      From State Court


This form must be attached to the Civil Cover Sheet at the time the case is filed in the U.S. District
                  Clerk’s Office. Additional sheets may be used as necessary.


    1. State Court Information:

        Please identify the court from which the case is being removed and specify the number assigned
        to the case in that court.

                                 Court                                         Case Number
         95th Judicial District Court, Dallas County, Texas   DC-17-17592


    2. Style of the Case:

        Please include all Plaintiff(s), Defendant(s), Intervenor(s), Counterclaimant(s), Crossclaimant(s)
        and Third Party Claimant(s) still remaining in the case and indicate their party type. Also, please
        list the attorney(s) of record for each party named and include their bar number, firm name,
        correct mailing address, and phone number (including area code).

                       Party and Party Type                                     Attorney(s)

         SEE ATTACHMENT




    3. Jury Demand:

        Was a Jury Demand made in State Court?                ✔   Yes                  No
                 If “Yes,” by which party and on what date?

                 ___________________________________
                 MCR Oil Tools, LLC, Plaintiff                          ______________________
                                                                        12/27/2017
                 Party                                                  Date
        Case 3:18-cv-00731-M Document 1 Filed 03/27/18                   Page 30 of 45 PageID 30
Supplemental Civil Cover Sheet
Page 2 of 2 

    4. Answer:

        Was an Answer made in State Court?           Yes                  ✔   No
                If “Yes,” by which party and on what date?

                ___________________________________                     ______________________
                Party                                                   Date


    5. Unserved Parties:

        The following parties have not been served at the time this case was removed:

                                 Party                             Reason(s) for No Service
         SPEX Offshore, Ltd.                         Dissolved Entity
         SPEX Services, Ltd.                         Dissolved Entity




    6. Nonsuited, Dismissed or Terminated Parties:

        Please indicate any changes from the style on the State Court papers and the reason for that
        change:

                                 Party                                        Reason




    7. Claims of the Parties:

        The filing party submits the following summary of the remaining claims of each party in this
        litigation:

                                 Party                                        Claim(s)

         SEE ATTACHMENT
     Case 3:18-cv-00731-M Document 1 Filed 03/27/18 Page 31 of 45 PageID 31
            ATTACHMENT TO SUPPLEMENTAL CIVIL COVER SHEET

2.      Style of the Case:

        Plaintiff:
        MCR Oil Tools, LLC

        Counsel for Plaintiff:

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        Jose M. Portela
        Texas State Bar No. 90001241
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        Defendants:
        SPEX Offshore, Ltd., Defendant
        SPEX Offshore (UK), Ltd., Defendant
        SPEX Group US LLC, Defendant
        SPEX Engineering (UK), Ltd., Defendant
        SPEX Services, Ltd., Defendant

        Counsel for Defendants SPEX Group US LLC, SPEX Offshore (UK) Ltd. and
        SPEX Engineering (UK) Ltd.:

        Craig D. Dillard (#29150)
        Federal ID No. 37591
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    Case 3:18-cv-00731-M Document 1 Filed 03/27/18               Page 32 of 45 PageID 32
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         7.         Claims of the Parties:

                  Party                                       Claim(s)

Plaintiff MCR Oil Tools, LLC           Breach of Contract, Declaratory Judgment under Tex.
                                       Civ. Prac. & Rem. Code § 37.009, Texas Statutory
                                       Misappropriation of Trade Secrets, Common Law
                                       Misappropriation, Unfair Competition, Common Law
                                       Fraud and Fraudulent Inducement, Tortious Interference,
                                       Conspiracy, “Alter Ego/Piercing the Corporate Veil,” and
                                       Application for Temporary Restraining Order, Temporary
                                       Injunction, and Permanent Injunction




Gardere01 - 11264888v.2
     Case 3:18-cv-00731-M Document 1 Filed 03/27/18             Page 33 of 45 PageID 33


                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS

MCR OIL TOOLS, LLC,                         §
                                            §
     Plaintiff,                             §
                                            §
v.                                          §
                                            §           Civil Action No. __________
                                                                          18-731
SPEX OFFSHORE, LTD.,                        §
SPEX SERVICES, LTD.,                        §
SPEX OFFSHORE (UK) LTD.,                    §
SPEX GROUP US LLC, and                      §
SPEX ENGINEERING (UK) LTD.,                 §
                                            §
     Defendants.                            §

                              NOTICE OF RELATED CASE

          Pursuant to Local Rules 3.3 and 81.1, Defendant SPEX OFFSHORE (UK), LTD.

files this Notice of Related Case and provides the following:

Style of Case:

     o MCR Oil Tools, LLC v. SPEX Offshore, Ltd. (a/k/a SPEX Offshore (UK), Ltd.),
       SPEX Group US LLC, and SPEX Engineering (UK), Ltd.

Civil Action No.:

     o 3:17-cv-03510-M

Presiding Judge:

     o Chief Judge Barbara M. G. Lynn

Status:

     o Case remanded to 95th Judicial District Court of Dallas County, Texas, on February
       16, 2018.




DEFENDANT’S CERTIFICATE OF INTERESTED PARTIES                                         PAGE 1
   Case 3:18-cv-00731-M Document 1 Filed 03/27/18          Page 34 of 45 PageID 34


                                         Respectfully submitted,



                                         /s/ Craig D. Dillard
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                                         Fax: 214-999-3668

                                         ATTORNEYS FOR DEFENDANTS
                                         SPEX GROUP US LLC,
                                         SPEX OFFSHORE (UK), LTD., AND
                                         SPEX ENGINEERING (UK), LTD.




DEFENDANT’S CERTIFICATE OF INTERESTED PARTIES                                 PAGE 2
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                              CERTIFICATE OF SERVICE

      The undersigned certifies that the foregoing document was served via email and certified
mail, return receipt requested on this the 26th day of March, 2018, to:

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                                                         /s/ Craig D. Dillard
                                                         Craig D. Dillard




DEFENDANT’S CERTIFICATE OF INTERESTED PARTIES                                          PAGE 3
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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS

MCR OIL TOOLS, LLC,                         §
                                            §
     Plaintiff,                             §
                                            §
v.                                          §
                                            §           Civil Action No. __________
                                                                         18-731
SPEX OFFSHORE, LTD.,                        §
SPEX SERVICES, LTD.,                        §
SPEX OFFSHORE (UK) LTD.,                    §
SPEX GROUP US LLC, and                      §
SPEX ENGINEERING (UK) LTD.,                 §
                                            §
     Defendants.                            §

                       CERTIFICATE OF INTERESTED PERSONS

          Pursuant to Local Rule 81.1, 3.1, and 3.2, Defendant SPEX OFFSHORE (UK),

LTD. files this Certificate of Interested Persons and identifies the following persons who are

financially interested in the outcome of the above styled and numbered action:

Plaintiff:

          MCR Oil Tools, LLC
          Michael C. Robertson
          Sherry Robertson
          Michelle Robertson
          Aaron Robertson
          Monica Barlow
          c/o MCR’s undersigned counsel of record

Counsel for Plaintiff:

          Blake L. Beckham
          Blake@beckham-group.com
          Jose M. Portela
          Jose@beckham-group.com
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DEFENDANT’S CERTIFICATE OF INTERESTED PARTIES                                          PAGE 1
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      Greg Eyster
      geyster@hillgilstrap.com
      Hill Gilstrap, PC
      1400 W. Abram
      Arlington, TX 76013
      817-861-4685 (fax)

Defendants:

      SPEX Offshore, Ltd.
      SPEX Services, Ltd.
      SPEX Offshore (UK), Ltd.
      SPEX Group US LLC
      SPEX Engineering (UK), Ltd.

Counsel for Defendants SPEX Group US LLC, SPEX Offshore (UK), Ltd., and SPEX
Engineering (UK) Ltd.:

      Craig D. Dillard (#29150)
      Federal ID No. 37591
      Texas State Bar No. 24040808
      Terrell Miller
      Texas State Bar No. 24046446
      Jason Sharp
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      GARDERE WYNNE SEWELL LLP
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      Steven C. Lockhart
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      Robert T. Slovak
      State Bar No. 24013523
      Rachel Kingrey
      State Bar No. 24068616


DEFENDANT’S CERTIFICATE OF INTERESTED PARTIES                          PAGE 2
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      GARDERE WYNNE SEWELL, LLP
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      Dallas, Texas 75201
      Telephone: (214) 999-3000
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      slockhart@gardere.com
      rslovak@gardere.com
      rkingrey@gardere.com


SPEX Offshore, Ltd. and SPEX Services Ltd. Liquidators:

      Alexander Iain Fraser
      FRP Advisory LLP
      Suite 2B, Johnstone House
      52-54 Rose Street
      Aberdeen
      AB10 1UD

      Thomas Campbell MacLenna
      Apex 3
      95 Haymarket Terrace
      Edinburgh
      EH12 5HD

                                         Respectfully submitted,



                                         /s/ Craig D. Dillard
                                         Craig D. Dillard (#29150)
                                         Federal ID No. 37591
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                                         Terrell Miller
                                         Texas State Bar No. 24046446
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DEFENDANT’S CERTIFICATE OF INTERESTED PARTIES                                 PAGE 3
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                                         SPEX OFFSHORE (UK), LTD., AND
                                         SPEX ENGINEERING (UK), LTD.




DEFENDANT’S CERTIFICATE OF INTERESTED PARTIES                               PAGE 4
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                                CERTIFICATE OF SERVICE

      The undersigned certifies that the foregoing document was served via ECF on this the
27th day of March, 2018, to:

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         Frank Gilstrap
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         Greg Eyster
         geyster@hillgilstrap.com
         Hill Gilstrap, PC
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         Arlington, TX 76013
         817-861-4685 (fax)

                                                      /s/ Craig D. Dillard
                                                      Craig D. Dillard




DEFENDANT’S CERTIFICATE OF INTERESTED PARTIES                                      PAGE 5
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS

MCR OIL TOOLS, LLC,                           §
                                              §
     Plaintiff,                               §
                                              §
v.                                            §
                                              §            Civil Action No. 17-3510
SPEX OFFSHORE, LTD. (a/k/a                    §
SPEX OFFSHORE (UK) LTD.),                     §
SPEX GROUP US LLC and                         §
SPEX ENGINEERING (UK) LTD.,                   §
                                              §
     Defendants.

                           DEFENDANTS NOTICE OF REMOVAL
                            INDEX OF STATE COURT FILINGS


                    Date                               Description
Notice of Removal – Volume 1
                  Dallas County District Court Docket Report
                  12/27/2017 Civil Cover Sheet
                  12/27/2017 Plaintiff’s Original Petition, Request for Temporary Restraining
                             Order and Application for Temporary and Permanent Injunctive
                             Relief
                  12/27/2017 Plaintiff’s Motion for Expedited Discovery and Issuance of
                             Letter of Request
                  12/28/2017 Proposed Order Granting Plaintiff’s Motion for Expedited
                             Discovery
                  12/28/2017 Notice of Removal to Federal Court
                  01/10/2018 Citation to SPEX Engineering (UK) Ltd
                  01/10/2018 Citation to SPEX Group US LLC
                  01/10/2018 Citation to SPEX Offshore, Ltd. a/k/a SPEX Offshore (UK)
                             Ltd
                  02/16/2018 Memorandum Opinion and Order and Order on Remand
Notice of Removal - Volume 2
                  02/16/2018 Special Appearance of Defendant SPEX Engineering (UK) Ltd.
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                       and Alternative Motion to Quash
Notice of Removal – Volume 3
          02/16/2018 Defendants’ Motion to Dismiss Pursuant to TCPA
          02/16/2018 Notice Letter from The Beckham Group re TRO Hearing
          02/16/2018 Letter to Clerk re: issuance of Citations
          02/16/2018 Letter to Court enclosing Certified copy of the Order
                     Remanding Case
          02/16/2018 Certified Copy of Memorandum Opinion and Order
          02/19/2018 Notice of Appearance – Rob Slovak
          02/19/2018 Plaintiff’s Emergency Motion for Discovery
          02/20/2018 Order on Plaintiff’s Request for TRO
          02/20/2018 Objection to Setting and Motion to Continue Hearing
          02/20/2018 Notice of Hearing for 2-21-18
          02/20/2018 Amended Notice of Hearing 2-23-18
          02/20/2018 Trust Receipt for TRO Bond
          02/21/2018 Citation to SPEX Offshore Ltd c/o SPEX Offshore Ltd.
                     Liquidators
          02/21/2018 Citation to SPEX Offshore Ltd. c/o SPEX Offshore Ltd.
                     Liquidators
          02/21/2018 Citation to SPEX Engineering (UK) Ltd.
          02/22/2018 TRO Issuance to SPEX Offshore Ltd.
          02/22/2018 TRO Issuance to SPEX Engineering (UK) Ltd.
          02/22/2018 Notice to Show Cause to SPEX Offshore Ltd.
          02/22/2018 Notice of Show Cause to SPEX Engineering (UK) Ltd.
          02/23/2018 Notice of Show Cause to SPEX Group US LLC
          02/23/2018 TRO Issuance to SPEX Group US LLC
          02/23/2018 Order Extending TRO
          02/23/2018 Order Granting Plaintiff’s Motion for Expedited Discovery
          02/23/2018 Letter of Request for International Judicial Assistance
          02/23/2018 Order Granting Plaintiff’s Emergency Motion for Discovery
          02/26/2018 Defendants’ Objections to Letter of Request
          02/28/2018 Proposed Order Extending TRO
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          02/28/2018 Proposed Order on Plaintiff’s Request for TRO
          02/28/2018 Modified Order Extending TRO
          02/28/2018 Modified Order on Plaintiff’s Request for TRO
Notice of Removal – Volume 4
          03/01/2018 Order to Vacate Feb. 23, 2018 Discovery Orders
          03/05/2018 Civil Docket Case Federal Court
          03/14/2018 Defendants’ Emergency Motion to Continue TI Hearing
          03/14/2018 Defendants’ Special Exceptions to Petition
          03/15/2018 Fifth District Court of Appeals Letter re: Opinion
          03/15/2018 Fifth District Court of Appeals Memorandum Opinion
          03/15/2018 Fifth District Court of Appeals Letter re: Order
          03/15/2018 Fifth District Court of Appeals Order
          03/15/2018 Notice of Rule 11 Agreement
          03/15/2018 Amended Order to Vacate Feb. 23, 2018 Discovery Orders
          03/19/2018 Supreme Court – Post Card
          03/19/2018 Proposed Agreed Order Extending TRO
          03/19/2018 Plaintiff’s Second Amended Petition, Request for Temporary
                     Restraining Order and Application for Temporary and
                     Permanent Injunctive Relief
          03/20/2018 Notice of Filing Rule 11 Agreement
          03/20/2018 Agreed Order Extending TRO
          03/20/2018 Citation Issued to SPEX Services, Ltd.
          03/20/2018 Citation Issued to SPEX Offshore, Ltd.
Notice of Removal – Volume 5
          Fifth Court of Appeals Docket Report
          02/27/2018 Emergency Motion of Relators for Temporary Relief
          02/27/2018 Relators Petition for Writ of Mandamus
          02/27/2018 Notice of Fifth Court of Appeals re original proceeding filed on
                     2/27/18
Notice of Removal – Volume 6
          02/27/2018 Sworn Record – Volume I
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Notice of Removal – Volume 7
          02/27/2018 Sworn Record – Volume II
          02/27/2018 Letter from the Beckham Group
          02/28/2018 Real Party in Interest’s Resp. to Emergency Mot. of Relators for
                     Temporary Relief and Request for Bond
          02/28/2018 Relators’ 1st Supplemental Record
          02/28/2018 Reply to Response to Emergency Motion of Relators for
                     Temporary Relief
          03/01/2018 Letter from the 5th Court of Appeals re Order issued
          03/01/2018 Real Party in Interest’s Sur-Reply to Relators’ Reply to
                     Response to Emergency Motion for Temporary Relief and
                     Request for Bond
          03/01/2018 Order Staying Discovery and Proceedings
          03/02/2018 Real Party in Interest’s Emergency Request for Clarification
          03/05/2018 Order re Clarification Request
          03/05/2018 Real Party in Interest’s Resp. to Petition for Writ of Mandamus
          03/05/2018 Sworn Record – Volume III (Real Party in Interest’s
                     Supplement)
          03/12/2018 Reply to Response to Petition for Writ of Mandamus
          03/14/2018 Memorandum Opinion
          03/14/2018 Order Conditionally Granting Petition for Writ of Mandums
          03/15/2018 Order received from Trial Court
          03/15/2018 Amended Order received from Trial Court
          Texas Supreme Court Docket Report
          03/08/2018 Notice from Ct. re: Filing of Petition for Writ of Mandums
          03/08/2018 Realtor’s Petition for Writ of Mandamus and Motion for
                     Emergency Relief
          03/09/2018 Realtor’s Motion for Emergency Relief to Permit Temporary
                     Injunction Hearing To Go Forward
Notice of Removal – Volume 8
          03/09/2018 Realtor’s Record – Vol. I
Notice of Removal – Volume 9
          03/09/2018 Realtor’s Record – Vol. II
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                  03/09/2018 Realtor’s Record – Vol. III
Notice of Removal – Volume 10
                  03/09/2018 Realtor’s Record – Vol. IV
                  03/09/2018 Response to Motion for Emergency Relief
                  03/12/2018 Realtor’s Reply to Response to Motion for Emergency Relief
                  03/14/2018 Unopposed Motion to Dismiss
                  03/15/2018 Notice from Ct. re: Petition for Writ of Mandamus Dismissed




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